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                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF COLORADO


   ROTHSCHILD BROADCAST
   DISTRIBUTION SYSTEMS, LLC,

                          Plaintiff,
                                          Case No. 1:20-cv-02878-DDD-MEH
         v.

   ZOOM VIDEO COMMUNICATIONS, INC.,

                          Defendant.


     DEFENDANT ZOOM VIDEO COMMUNICATIONS, INC.’S MOTION TO DISMISS
           PLAINTIFF’S COMPLAINT FOR FAILURE TO STATE A CLAIM
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   I.     INTRODUCTION

          In 2014, Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Rothschild”) started

   suing for infringement of United States Patent No. 8,856,221 (“the ’221 Patent”) a wide range of

   companies that transmit digital media. To date, Rothschild has filed nearly 75 such lawsuits,

   including this suit against Defendant Zoom Video Communications, Inc. (“Zoom”). Since the

   ’221 Patent issued in 2014, Rothschild has asserted the ’221 Patent against at least 72

   defendants, in nearly a dozen district courts throughout the United States.

          Rothschild faces a foundational problem with its litigation campaign on the ’221 patent,

   however—namely, that the patent is directed to patent ineligible subject matter such that the

   Complaint fails to state a claim. Indeed, in approximately ten of Rothschild’s prior actions, the

   accused infringer filed a Rule 12(b)(6) motion based on patent ineligibility under 35 U.S.C.

   § 101. Every single time, Rothschild settled the action rather than litigate the ’221 patent’s

   eligibility on the merits. Zoom now moves to dismiss the Complaint on this same basis.

   II.    PATENT BACKGROUND

          The ’221 patent is generally directed to “on-demand storage and delivery of media

   content.” ’221 patent, 1:26–27. The specification explains that the patent is intended to address

   two possible concerns related to on-demand streaming services. First, it notes that many users

   are charged a flat monthly fee for streaming regardless of their usage, while others are charged a

   flat rate per video regardless of the length. Id. at 1:48–2:2. In both cases, some consumers are

   overpaying compared to others. The second scenario involves consumers that want to stream a

   particular program that is not currently available and ultimately lose interest before the program

   becomes available. Id. at 2:3–12. The specification explains that this results in the unnecessary

   expenditure of data resources and drives up the cost of streaming services. Id. It concludes that

   “[t]here is a need in the art for an on-demand media storage and streaming solution that tailors


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   cost to each consumer based on the requested media content and each consumer’s needs.” Id. at

   2:13–16.

          The specification then states that “[t]he present invention advantageously provides a

   method and system for on-demand storage and delivery of media content.” Id. at 2:20–22. It

   goes on to describe a system that includes “consumer devices” and a network of servers in a

   “cloud-computing environment” Id. at 3:43–55. The consumer device—which may include a

   processor “for executing computer program instructions stored in memory 26, as is well known

   in the art”—connects to “network 18 using communication protocols known in the art,” Id. at

   3:47–52, 66–67. A “broadcast server” on the network may store “media content existence”

   information “indicat[ing] whether the media content exist[s], e.g., media content not found

   because user input the wrong movie title.” Id. at 4:23–41. A “remote server” may be used to

   store media content “for a specific length of time.” Id. at 4:42–55. Finally, the patent describes

   a “cost amount” for each user that is based on “the amount of playback time corresponding to the

   media content” or “the length of time the consumer wants to store the requested content.” Id. at

   8:20–25.

          The patent does not describe the use of any unique hardware for implementing the

   claimed method and instead describes the use of generic, conventional components (e.g.,

   processor, receiver, transmitter, and memory). Nor does it provide any specific configuration for

   the servers it requires, and describes them solely based on their general functionality. In the final

   paragraphs, the specification explains that the claimed invention is able to be implemented using

   any combination of hardware and software. ’221 Patent at 10:12–27.

          Independent Claim 7—the only claim referenced in the Complaint—is exemplary. The

   other independent claim, Claim 1, describes the same process in the form of a system claim.




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   Notably, neither claim, nor any of their dependent claims, specifically address the cost-related

   problems identified in the specification.

          In its Complaint, Rothschild has accused “the CuriosityStream 1 streaming platform” of

   “practice[ing] a method of storing (e.g., cloud storage) media content (e.g. and recorded music)

   and delivering requested media content to a consumer device.” ECF No. 1, ¶ 18. The Complaint

   then includes generic screenshots from Zoom’s website describing its Cloud Recording product

   and states, without pointing to any specific feature of that product, that it “necessarily includes a

   receiver configured to receive a request message including data indicating requested media

   content (e.g., the Product must have infrastructure to receive a request to store recorded media

   content or to stream recorded media content on a smartphone; additionally, the request message

   must contain data that identifies the content to be stored or streamed).” Id. at ¶ 19

   III.   LEGAL STANDARD

          Federal Rule of Civil Procedure 12(b)(6) permits a party to move to dismiss a complaint

   for “failure to state a claim upon which relief can be granted.” The Federal Circuit has explained

   that patent eligibility “may be, and frequently has been, resolved on a Rule 12(b)(6) or (c)

   motion where the undisputed facts . . . require a holding of ineligibility under the substantive

   standards of law.” SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018); see

   also WhitServe LLC v. Donuts Inc., 390 F. Supp. 3d 571, 575 (D. Del. 2019) (collecting cases)

   aff’d 809 Fed. App’x 929.

          Section 101 provides that “[w]hoever invents or discovers any new and useful process,

   machine, manufacture, or composition of matter, or any new and useful improvement thereof,



   1
    CuriosityStream is not a Zoom product and appears to be a vestige of a previous assertion
   against a different defendant.




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   may obtain a patent therefor, subject to the conditions and requirements of this title.” Courts

   have long held that this provision “contains an important implicit exception: Laws of nature,

   natural phenomena, and abstract ideas are not patentable.” Alice Corp. v. CLS Bank Int’l, 573

   U.S. 208, 216 (2014) (quoting Association for Molecular Pathology v. Myriad Genetics, Inc.,

   569 U.S. 576, 589 (2013)). The Supreme Court has established a two-step framework wherein a

   claim falls outside § 101 where “(1) it is ‘directed to’ a patent-ineligible concept, i.e., a law of

   nature, natural phenomenon, or abstract idea, and (2) if so, the particular elements of the claim,

   considered ‘both individually and as an ordered combination,’ do not add enough to ‘transform

   the nature of the claim into a patent-eligible application.’” Electric Power Group, LLC v.

   Alstrom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016) (quoting Alice Corp., 573 U.S. at 217).

   IV.    ARGUMENT

          The ’221 Patent is invalid under 35 U.S.C. § 101 because it is directed to patent-ineligible

   subject matter. The patent claims are directed to the abstract idea of requesting to retrieve media

   content or to store it for a specified period of time. The claims of the ’221 are similar to the

   numerous claims that have been determined patent-ineligible by both trial courts and the Federal

   Circuit. They describe nothing other than the use of generic and conventional computers used in

   a generic and conventional manner to perform a well-established abstract process. This is

   insufficient under 35 U.S.C. § 101 and the cases applying it.

          A.      Alice Step One: The ’221 Patent’s Claims Are Directed to the Abstract Idea
                  of Requesting to Receive or Store Media Content

          Step one of the Alice inquiry “look[s] at the ‘focus’ of the claims, their character as a

   whole,” to determine whether they are directed to an abstract idea. Elec. Power Grp., 830 F.3d

   at 1353. When identifying “the true focus of a claim . . . the specification must always yield to

   the claim language.” ChargePoint, 920 F.3d at 766.




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          The claims of the ’221 patent are directed to the abstract idea of enabling subscribers to

   request available media content or have it stored for a specified period of time. The recited

   limitations do not recite anything unconventional that would amount to significantly more than

   the abstract idea itself. Further, the specification confirms that the “invention” is directed to

   purely functional limitations, applying an abstract concept to a generic computer network.

                  1.      The Recited Steps Use Functional Language and Generic Computer
                          Components to Perform a Common Business Practice

          Claim 7 explains that it is directed to “[a] method for storing media content and

   delivering requested media content to a consumer device.” ’221 patent, 11:43–44. The

   summary of the invention likewise states that its intended purpose is to “advantageously provide

   a method and system for on-demand storage and delivery of media content.” Id. at 2:20–22.

          The claimed method consists of several discrete steps, namely: (1) receiving messages

   from consumers requesting content; (2) confirming that the consumer is using a registered

   consumer device; (3) determining whether the consumer has sent a request for immediate

   delivery or for storage; (4) determining whether the requested content is available for either

   immediate delivery or for storage; (5) checking whether there are restrictions on delivery to the

   consumer device; and (6) delivering the content if available. These are general, high-level

   functions (“receiving,” “determining,” “checking,” and “delivering”) and the claims do not

   describe how these functions are achieved. This type of claiming has consistently been found

   abstract. See e.g., American Axle & Manufacturing, Inc. v. Neapco Holdings LLC, 967 F.3d

   1285 (Fed. Cir. 2020) (“[t]he claim itself . . . must go beyond stating a functional result; it must

   identify ‘how’ that functional result is achieved by limiting the claim scope to structures

   specified at some level of concreteness, in the case of a product claim, or to concrete action, in

   the case of a method claim.”); Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC, 874 F.3d




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  1329, 1337 (Fed. Cir. 2017) (finding a claim directed to an abstract idea when it “requires the

  functional results of ‘converting,’ ‘routing,’ con-trolling,’ ‘monitoring,’ and ‘accumulating

  records,’ but does not sufficiently describe how to achieve these results in a non-abstract way.”).

            The specification describes the performance of the claimed process by a generic

  “processor,” but a computer is not required to perform them. This process can be—and has

  been—easily performed by human beings. As explained in the chart below, one example of this

  is a librarian overseeing the process of checking out or placing a book on hold. 2


                         Claim 7                                   As Performed by a Human
      A method for storing media content and              A librarian:
      delivering requested media content to a
      consumer device, the method comprising:
      Receiving a request message including media         Accepts requests from patrons for media (e.g.,
      data indicating requested media content and a       books, DVDs, etc,) wherein the requests
      consumer device identifier corresponding to         contain information including the title of the
      the consumer device;                                book and an identifier for the patron (e.g., a
                                                          library card or patron number);
      Determining whether the consumer device             Checks the patron’s library card to ensure that
      identifier corresponds to a registered              the patron is registered with the library;
      consumer device; and
      If it is determined that the consumer device        If the librarian determines that the patron is
      identifier corresponds to the registered            registered with the library, the librarian will
      consumer device, then:                              determine whether the patron is requesting to
                                                          check out a book or requesting that it be put
                                                          on hold;
      Determining, whether the requested message
      is one of a storage request message and a
      content request message; and
      If the request message is the storage request       If the patron is requesting that a book be
      message, then determining whether the               placed on hold, determining whether it is
      requested media content is available for            available to be placed on hold;


  2
   Other defendants in Rothschild’s previous lawsuits have analogized the claims to the steps
  performed by a clerk in a video store. See e.g., Memorandum in Support of Motion to Dismiss at
  14–15, Rothschild Broad. Distrib. Sys. LLC v. VUDU, Inc., No. 6:15-cv-00233-RWS-JDL (E.D.
  Tex. filed March 19, 2015).




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                       Claim 7                                   As Performed by a Human
   storage; and
   If the request message is the content request        If the patron wants to check out a book, the
   message, then initiating delivery of the             librarian initiates the check-out process;
   requested media content to the consumer
   device;
   Wherein the media data includes time data            Wherein the book may be checked out for a
   that indicates a length of time to store the         certain length of time based on its
   requested media content;                             characteristics (e.g., 1 week for DVDs, 3
                                                        weeks for circulating books)
   The first processor is further configured to         The librarian determines whether the book
   determine whether the requested media                exists in the library catalog
   content exists; and
   If the processor determines that the requested       If the librarian determines that the book exists
   media content exists, the processor is further       in the catalog, she then determines whether
   configured to determine whether the                  the book is currently checked out and whether
   requested media content is available and             there are any restrictions associated with the
   whether there are restrictions associated with       requested book (e.g., reference books) that
   the requested media content that prevent the         would prevent checkout
   requested media content from being delivered
   to the consumer device.

         Because this process has been routinely performed by humans for hundreds, if not

  thousands, of years, the claims of the ’221 patent are directed to the abstract idea—namely, the

  idea of storing and delivering media content. The ’221 patent merely claims the implementation

  of this method using a generic computer processor. As in Alice, each step of Claim 7

  corresponds directly “to longstanding commercial practices [and] do not pass step one of the

  two-part § 101 test.” Elec. Comm’n Techs., LLC v. ShoppersChoice, LLC, 958 F.3d 1178, 1182

  (Fed Cir. 2020) (citing Alice, 573 U.S. at 219–20).

                  2.     Federal Circuit Decisions Confirm that the Claims Are Directed to an
                         Abstract Idea

         Since the Supreme Court’s decision in Alice, a substantial body of case law has

  developed around the application of § 101 in the context of software or computer-implemented




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  methods. A number of these decisions are instructive in this case.

         In one such decision, the Federal Circuit considered a claim “directed to a network-based

  media system with a customized user interface, in which the system delivers streaming content

  from a network-based resource upon demand to a handheld wireless electronic device having a

  graphical user interface.” Affinity Labs. Of Texas, LLC v. Amazon.com Inc., 838 F.3d 1266, 1268

  (Fed. Cir. 2016). The court found this claim abstract, determining that it failed to provide any

  mechanism particular to wireless streaming to handheld devices and that “[t]he purely functional

  nature of the claim confirms that it is directed to an abstract idea, not to a concrete embodiment

  of that idea.” Id. at 1269. The ’221 patent is abstract for the same reason. It does not describe

  any mechanism or structure specialized for receiving and parsing requests for delivering or

  storing media content and instead simply claims the use of generic computer components to

  perform this function.

         Claims related to authorizing access to data have routinely been found to be abstract in

  nature. For example, in Prism Tech. LLC v. T-Mobile USA , Inc., the Federal Circuit determined

  that a set of claims was directed to the abstract process of “(1) receiving identity data from a

  device with request for access to resources; (2) confirming the authenticity of the identity data

  associated with that device; (3) determining whether the device identified is authorized to access

  the resources requested; and (4) if authorized, permitting access to the requested resources.” 696

  Fed. App’x 1014, 1017 (Fed. Cir. 2017). Likewise, in Ericsson Inc. v. TVL Commc’n Tech.

  Holdings Ltd., the Federal Circuit held that a patent claiming “a system for controlling access to

  a platform” was ineligible because it was nothing more than a “bare abstract idea.” 955 F.3d

  1317, 1325–26 (Fed. Cir. 2020).

         The method claimed by the ’221 patent is strikingly similar to those at issue in Prism




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  Tech. and Ericsson. It is directed to a method of controlling access to media content that entails

  (1) receiving a “consumer device identifier” with a request message; (2) determining whether

  this identifier corresponds to a registered consumer device; (3) if so, permitting access to the

  media content for storage or retrieval. The addition of further abstract “determining” steps does

  nothing to make this process more concrete. Alice, 573 U.S. at 222 (“‘Simply appending

  conventional steps, specified at a high level of generality,’ was not ‘enough’ to supply an

  ‘inventive concept.’”). The patent specification merely reinforces the idea of selecting access,

  describing that subscribers to a streaming service are permitted to access media content while

  non-subscribers are not.

         Courts have regularly found that methods relating to data storage or retrieval are abstract.

  In a decision affirmed by the Federal Circuit, a court invalidated a patent relating to backing up

  data, noting that “institutions have long backed up data in general,” and that the patent merely

  “rel[ied] on the ordinary storage and transmission capabilities of computers within a network and

  appl[ied] that ordinary functionality in the particular context of remote mirroring.” Intellectual

  Ventures I LLC v. Symantec Corp., 234 F. Supp. 3d 601, 607 (D. Del. 2017), aff’d, 725 F. App’x

  976 (Fed. Cir. 2018). Similarly, the Federal Circuit stated in Content Extraction & Transmission

  LLC v. Wells Fargo Bank, National Ass’n that “[t]he concept of data collection, recognition, and

  storage is undisputedly well-known. Indeed, humans have always performed these functions.”

  776 F.3d 1343, 1348 (Fed. Cir. 2014). This comports with the findings of many district courts

  that collecting, recognizing, organizing, storing, and retrieving data are abstract ideas. See e.g.,

  Orcinus Holdings, LLC v. Synchronoss Techs, Inc., 379 F. Supp. 3d 857, 862 (N.D. Cal. 2019)

  (invalidating a patent directed to “uploading and downloading data from a [customer device] to a

  server by way of a mobile network”); Encyclopedia Britannica, Inc. v. Dickstein Shapiro, 128 F.




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  Supp. 3d 103, 112 (D.D.C. 2015), aff’d, 653 F. App’x 764 (D.C. Cir. 2016) (invalidating patent

  directed to storage and retrieval of information and noting that “[h]umans have been collecting

  and organizing information and storing it in printed form for thousands of years.”).

         The Federal Circuit has also considered claims with generic, functional language similar

  to that at issue in this case. For instance, in Two-Way Media Ltd. v. Comcast Cable Commc’ns,

  LLC, it found that claims directed to a control mechanism for choosing which users receive real-

  time information were abstract. 874 F.3d 1329 (Fed. Cir. 2017). It noted that that the patent

  used broad, functional language such as “converting,” “routing,” “controlling,” “monitoring,”

  and “accumulating records,” but did not “sufficiently describe how to achieve these results in a

  non-abstract way.” Id. at 1337. The claims at issue here are likewise directed to a series of

  functional steps, yet fail to provide any concrete explanation for how those functions are to be

  carried out.

         Ultimately, the “focus” of the ’221 patent’s claims is a system for selectively providing

  access to media content or permitting consumers to store media content for a specified period of

  time. The claims amount to nothing more than a description of this concept and the instruction

  to perform them on generic computers using conventional techniques. As a result, the claims are

  directed to a patent-ineligible abstract idea.




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         B.      Alice Step Two: The Limitations Do Not Transform the Claims

         Once a court has determined that a claim is abstract, it may only be saved if it embodies

  an “inventive concept” that is “significantly more” than the abstract idea alone. Alice, 573 U.S.

  at 217–18. Any such concept must be “evident in the claims.” Two-Way Media Ltd. v. Comcast

  Cable Commc’ns, LLC, 874 F.3d 1329, 1338 (Fed. Cir. 2017). Here, the claims of the ’221

  patent provide no inventive concept and amount to nothing more than an abstract idea performed

  using generic computing components in a conventional manner. The specification acknowledges

  as much, explaining that the system can be implemented in hardware, software, or a combination

  of the two using any network of servers.

                 1.      Each Step of the Claims Simply Describes the Abstract Method

         Examining the steps of the method claimed in the ’221 patent reveals that they do not “do

  significantly more than simply describe [the] abstract method.” Ultramercial, Inc. v. Hulu, LLC,

  772 F.3d 709, 715 (Fed. Cir. 2014). Instead, the steps merely describe “receiving” a request,

  “determining” whether the device is registered, “determining” whether the media content is

  available, and “determining” whether there are any restrictions on access to the media content.

  However, an abstract idea cannot itself provide the inventive concept and there is nothing novel

  or unique about the claimed process. The concept of requesting and authorizing access to data

  storage is not unique. See Affinity Labs, 838 F.3d at 1271–72. Nor is the step of running checks

  against a database to confirm availability. See WhitServe LLC v. Donuts Inc., 809 Fed. App’x

  929 (Fed. Cir. 2020) (finding “querying a database” to be the use of “generic components . . . to

  perform their routine and conventional functions.”).

         The claims also do not provide a solution to the problems identified in the specification.

  The specification explains that the invention is intended to solve the inefficiencies of existing

  pricing models for on-demand streaming services and to provide a way of tailoring a consumer’s



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  charges to that consumer’s actual use of those services. Yet the claims of the ’221 patent do no

  such thing and instead simply concern the ability to control access to a server and store

  information on that server for a specified period of time. Nor is this solution provided by the

  dependent claims, which are not directed to tailoring pricing to usage. Claims 12 and 13, the

  only claims to even mention costs, do so in the context of simply “transmitting” that cost to a

  user—a “pay-per-view” concept that any boxing fan will understand is far from novel. The mere

  fact that this process is being applied in the streaming context is insufficient to transform it into

  patentable subject matter. See OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1363 (Fed.

  Cir. 2015) (finding claims directed to “the ability to automate or otherwise make more efficient

  traditional price-optimization methods” to be abstract); Capital One, 792 F.3d at 1367 (“claiming

  the improved speed or efficiency inherent with applying the abstract idea on a computer” is

  insufficient to supply an inventive concept).

         Put simply, the claims of the ’221 patent merely “stat[e] [the relevant] functions in

  general terms, without limiting them to technical means for performing the functions that are

  arguably an advance over conventional computer and network technology.” Elec. Power Grp.,

  LLC v. Alstrom S.A., 830 F.3d 1350, 1351 (Fed. Cir. 2016). Because they define these steps

  functionally and do not limit them to inventive means of accomplishing this function, the claims

  fail under § 101.

                 2.      The Patent Claims Conventional Ways of Using Generic Computers

         The use of “generic computer components employed in a customary manner” is

  insufficient to transform an abstract idea into a patent-eligible invention. Audatex N. Am., Inc. v.

  Mitchell Int’l, Inc., 703 F. App’x 986, 990 (Fed. Cir. 2017); Intellectual Ventures I LLC v.

  Capital One Bank, 792 F.3d 1363, 1369 (Fed. Cir. 2015) (“Instructing one to ‘apply’ an abstract

  idea and reciting no more than generic computer elements performing generic computer tasks



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  does not make an abstract idea patent-eligible.”).

         Here, the ’221 patent specification makes no attempt to disguise the fact that the claimed

  consumer device and servers are comprised of entirely conventional, generic components and

  provides no specific configuration aside from the claimed functionality. It states that

  “[p]rocessor 24 may include a central processing unit (CPU) for executing computer program

  instructions stored in memory 26, as is well known in the art.” ’221 patent, at 3:65–67

  (emphasis added). It further notes that the consumer device “may communicate with network 18

  using communication protocols known in the art” and that “volatile memory may include

  random access memory and others known in the art.” Id. at 3:61–62, 4:3–5 (emphasis added).

  Perhaps most tellingly, the patent expressly states that the required system is defined, not by its

  structure, but by its function: “Any kind of computing system, or other apparatus adapted for

  carrying out the methods described herein, is suited to perform the functions described herein.”

  Id. at 10:12–21.

         Not only does the patent describe the use of generic hardware, it explains that the

  patented process is not even bound to hardware, but can be “embedded in a computer program

  product . . . [comprising] any expression, in any language, code or notation, of a set of

  instructions intended to cause a system having an information processing capability to perform a

  particular function. . .” Id. at 10:21–31.

         Nothing in the claims or specification of the ’221 transform the abstract idea to which the

  patent claims are directed into patent-eligible subject matter. For this reason, the ’221 patent

  claims are invalid and the Court should dismiss Rothschild’s Complaint for failure to state a

  claim pursuant to Rule 12(b)(6).

         C.      Claim 7 is representative

         It is well-established that a court may rely on a representative claim when assessing



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  patent-eligibility rather than reviewing each asserted claim separately. See e.g., Elec. Power

  Grp., 830 F.3d at 1352. Claim 7 is not only the sole claim identified in the Complaint, it is also

  representative of the other claims because they do not add “significantly more” than the abstract

  concept in claim 7.

         The only other independent claim in the ’221 patent is claim 1, which is simply the

  method of claim 7 implemented as a system. Because it adds nothing to the abstract idea

  embodied by claim 7, it too should be invalidated for lack of patentable subject matter. The

  claims that depend from claims 1 and 7 are likewise directed to abstract ideas and are insufficient

  to render the claims concrete or inventive. Claims 2 and 8 are directed to a “storage

  confirmation message” indicating “whether the requested media content is available for storage,”

  which simply adds an additional abstract step to claim 7’s requirement that the processor

  “determine” whether the media is available to be stored. Claims 3, 4, and 9 are similar and recite

  the steps of “stor[ing] user data corresponding to an end user media consumer,” and “sending a

  registration message prompting registration of the consumer device,” which again merely creates

  an additional limitation for claim 7’s “determin[ation] whether the consumer device identifier

  corresponds to a registered consumer device.” Claims 5, 6, and 11 concern the addition of

  abstract steps for verifying a consumer device identifier and transmitting content upon

  verification. Finally, claims 12–13 relate to the abstract concept of transmitting costs to a user.

  Each of these claims is no more concrete than claim 7 and relates either to the same concepts or

  adds only generic concepts that are well understood to be unpatentable abstract ideas.

  V.     CONCLUSION

         For the reasons stated above, Zoom respectively requests that the Court dismiss with

  prejudice Plaintiff’s Complaint for failure to state a claim upon which relief can be granted.




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 1, 2020 the within document was filed with the Clerk

  of the Court using CM/ECF which will send notification of such filing to the attorneys of record

  in this case.

                                                               /s/ Timothy C. Saulsbury
                                                             TIMOTHY C. SAULSBURY




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